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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ROME DIVISION

              UNITED STATES OF AMERICA
                  v.                                    CRIMINAL ACTION FILE
                                                        NO. 4:14-CR-11-HLM-WEJ-1
              TERRY EUGENE PEACE,
                             Defendant.


                        NON-FINAL REPORT AND RECOMMENDATION

                   When defendant, Terry Eugene Peace, along with his co-defendants, Brian

             Edward Cannon and Cory Robert Williamson, assumed possession of decoy

             explosives delivered to them by a government informant, police swiftly moved in

             and arrested them. Mr. Peace seeks to have the Court exclude from evidence

             statements he subsequently made to law enforcement during custodial interrogation.

             (See Mot. to Suppress Statements [45].)1 To receive evidence regarding defendant’s

             testimonial statements to police, the Court conducted an evidentiary hearing [58] on

             May 29, 2014. That hearing has been transcribed [59], and the parties have




                   1
                     Defendant withdraws his Motion to Suppress Evidence Resulting from
             Execution of Search Warrant [46, 56]. (Def.’s Br. [62] 1 n.1.) Therefore, the
             undersigned RECOMMENDS that the Court DENY that motion as MOOT.


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             competently briefed the legal issues raised. (See Def.’s Br.; Gov’t Resp. [64]; Def.’s

             Reply [65].)

                   On the basis of the testimony and documentary evidence produced at that

             hearing and the briefs of counsel, the undersigned REPORTS that from 2:44 p.m.

             until 3:14 p.m. on February 15, 2014, police lawfully conducted custodial

             interrogation of Mr. Peace under the public safety exception to Miranda v. Arizona,

             384 U.S. 436 (1966).2 The undersigned further REPORTS that the subsequent

             evening interview, which followed Miranda warnings and defendant’s knowing and

             voluntary waiver of his rights, was not constitutionally defective under Missouri v.

             Seibert, 542 U.S. 600 (2004). Accordingly, the undersigned RECOMMENDS that

             defendant’s Motion to Suppress Statements [45] be DENIED.




                   2
                      The government will not seek to introduce in its case-in-chief any testimony
             that Mr. Peace provided police between 3:14 p.m. and 3:39 p.m on February 15,
             2014 (i.e., after FBI Special Agent Jason Harris provided Mr. Peace with an
             incomplete rendition of his Miranda rights and Mr. Peace invoked his right to an
             attorney). (Gov’t Resp. 5 n.2.) Accordingly, the undersigned RECOMMENDS that
             the Court DENY as MOOT defendant’s request to suppress statements made during
             that interval.

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             I.    STATEMENT OF FACTS

                   A.     Investigation Leading to Defendant’s Arrest

                   In early 2014, Messrs. Peace, Cannon, and Williamson (collectively

             “defendants”), members of a militia, used the Internet to communicate with unnamed

             individuals not indicted with defendants. (Mag. Compl. Aff. [1] ¶ 4.) Online chats

             do not usually attract the attention of the Federal Bureau of Investigation, but in this

             instance defendants were broadcasting their intent to engage the government in a

             guerilla war. (Id.) On January 23, the FBI observed that Mr. Peace used an Internet

             forum to promote an anti-government mission that would launch in February. (Id.)

             He encouraged members of the militia to review guerilla warfare and small unit

             tactics, accumulate supplies, and prepare their families for the coming showdown.

             (Id.) The hit list included the Department of Homeland Security and two of its

             agencies, the Transportation Security Administration and the Federal Emergency

             Management Agency. (Id.)

                   A “confidential human source” (“CHS-1”) informed the FBI that he had

             arranged to meet Mr. Peace in Memphis, Tennessee, on February 5 to discuss the

             anti-government revolt. (Mag. Compl. Aff. ¶ 5.) Defendants traveled to Memphis,

             but when they got there they grew “tired of waiting” for CHS-1 and turned around

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             for home. (Id.) Mr. Williamson told CHS-1 they would instead confer via an

             encrypted chat site. (Id.)

                    That same day, Mr. Peace requested information to access a secured chat site.

             (Mag. Compl. Aff. ¶ 7.) The FBI was present with CHS-1 as the confidential source

             accessed the same site. (Id.) During the monitored conversation, a person using the

             moniker “Chief” wrote:

                    We will be using Guerrilla style warfare tactics. I have been arguing
                    with myself on what level of violence or what level of damage is
                    acceptable. I do not want to kill or injure fellow Americans. So, at
                    least for the guys with me we will restrain the violence toward people
                    and target infrastructure. Then respond to violence with reciprocal
                    violence.

             (Id. ¶ 8.)

                    The group with me will move first mainly to make a point. I stand by
                    what I say. The other groups should start within the next 24 - 48 hours
                    in order to keep the operational tempo up so that when one unit is done
                    another is hitting nonstop. As soon as we complete mission one, we
                    will relocate and start mission 2 then 3, until all is done.

             (Id. ¶ 9.) “We will get a post up after we complete our mission, then you will know

             the clock is started.” (Id. ¶ 10.)

                    “Chief” also discussed training and strategy; the militias would attack small

             targets first and graduate to larger targets. (Mag. Compl. Aff. ¶ 11.) Targeted



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             infrastructure   included   “government     vehicles,    buildings,   power,   and

             communication.” (Id.) “If we can get decent intelligence . . . on roadblocks or

             VIPR,3 then we go after them with the understanding it would be violent.” (Id.)

                   On February 6, CHS-1 and Mr. Williamson communicated online about

             defendants’ need for ammunition and explosives to carry out their mission. (Mag.

             Compl. Aff. ¶ 13.) When Mr. Williamson inquired whether CHS-1 had “resources

             to share,” CHS-1 stated that he was uncertain but would ask a “contact.” (Id.) On

             February 7, CHS-1 asked Mr. Peace to call him. (Id. ¶ 14.) The next day, on the

             telephone with Mr. Peace, CHS-1 related to defendant that the contact could provide

             defendants their desired armaments.      (Id. ¶ 15.)    So that the contact could

             manufacture appropriate devices, CHS-1 asked Mr. Peace what he intended to do

             with the devices. (Id.) Mr. Peace responded that he needed “a thermite charge to go

             through the engine block of an MRAP.”4 (Id.) He also requested a dozen pipe

             bombs “constructed for maximum fragmentation.” (Id. ¶ 17.) CHS-1 informed Mr.


                   3
                     VIPR stands for Visible Intermodal Prevention and Response. See 6 U.S.C.
             § 1112(a) (authorizing the Secretary, acting through the Administrator of the
             Transportation Security Administration, to develop VIPR teams to augment the
             security of any mode of transportation at any location within the United States).
                   4
                     MRAP stands for “mine-resistant ambush protected” vehicle. (Mag. Compl.
             Aff. ¶ 16.)

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             Peace that his contact might be uncomfortable meeting with or directly speaking to

             defendant. (Id. ¶ 18.) Mr. Peace suggested that CHS-1 serve as a middleman

             between the two. (Id.)

                   A second FBI source (“CHS-2”) conversed with Mr. Cannon on February 8.

             (Mag. Compl. Aff. ¶ 20.) Mr. Cannon told CHS-2 that the group was planning to

             “‘start the fight’ with the government” by sabotaging power grids, transfer stations,

             and water treatment facilities. (Id.; Tr. 31.) He also professed his desire to recruit

             new militia members from different parts of the country to assist the anti-government

             mission. (Mag. Compl. Aff. ¶ 21.) Mr. Cannon believed that the attacks would

             prompt mass hysteria, and that if enough sabotage was successful, martial law would

             be declared. In turn, this would cause the many militias in defensive mode to join

             the anti-government offensive. (Id. ¶ 20; Tr. 32.)

                   On February 9, CHS-1 telephoned Mr. Peace to tell him that he would have

             the destructive devices in a few days. (Mag. Compl. Aff. ¶ 22.) On February 13,

             defendants traveled to the Country Sportsman in Rome, Georgia, and purchased a

             rifle and accessories. (Id. ¶ 23.) On February 15, CHS-1 informed Mr. Cannon that

             he was in Georgia with the devices. (Id. ¶ 25.) CHS-1 agreed to meet defendants

             later that day in Cartersville, Georgia. (Id.) Before the meeting, the FBI provided

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             CHS-1 with twelve inert pipe bombs and two thermite devices to deliver to

             defendants. (Id. ¶ 26.)

                   Upon arriving at the designated meeting place, a Walmart parking lot,

             defendants exited their vehicle and approached CHS-1. (Mag. Compl. Aff. ¶ 28.)

             CHS-1 placed a box containing the thermite devices into defendants’ truck and

             pulled out instructions, which he read aloud and handed to Mr. Peace. (Id.) As

             CHS-1 went to retrieve another box to place in defendants’ truck, agents arrested

             defendants and reclaimed the decoy explosives. (Id. ¶ 29; Tr. 34.)

                   During a search incident to arrest, officers discovered pistols on Messrs. Peace

             and Cannon and three rifles in the cab of the truck. (Mag. Compl. Aff. ¶ 29.) Mr.

             Peace was wearing body armor and Mr. Cannon was wearing a tactical carrier for

             body armor. (Id.) None of defendants was registered on the National Firearm

             Registration and Transfer Record to possess a destructive device. (Id. ¶ 30.)

                   B.     The Afternoon Interview

                   After their arrest at approximately 1:35 p.m., officers transported defendants

             to the Bartow County Sheriff’s Office in Cartersville. (Tr. 9, 20.) Mr. Peace was

             deposited in an interview room at 2:03 p.m. (Id.) Although Agent Harris was

             present throughout the afternoon interview, the task of questioning Mr. Peace fell to

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             Captain Mark Mayton.5 (Id. at 8-9.) As a member of the FBI’s task force, Captain

             Mayton had worked the investigation leading to defendants’ arrest. (See id. at 5.)

             Before interrogating Mr. Peace, Captain Mayton reviewed evidence obtained by the

             FBI. (Id.) In that way, he discovered that defendants had traveled to Cartersville to

             purchase “shrapnel-type” bombs and thermite devices.6 (Id. at 5-6.) After discussing

             the case with agents and reading screen shots of online chats, Captain Mayton

             determined that defendants’ acquisition and use of these destructive devices was

             intended to be “a catalyst for . . . other groups to begin similar-type operations”

             around the country, namely “[t]he destruction of infrastructure” and “violent

             encounters with law enforcement.” (Id. at 7-8; see also id. at 28, 30-32.) Since the

             FBI’s evidence did not apprise Captain Mayton of the “exact plans” of other militias,

             he did not have the information necessary to prevent any attacks planned by these

             groups. (Id. at 48.)




                   5
                     Captain Mayton, a twenty-five-year veteran of the Bartow County Sheriff’s
             Office, is the commander of the Bartow/Cartersville Drug Task Force and a member
             of the FBI’s Northwest Georgia Criminal Enterprise Task Force. (Tr. 4-5.)
                   6
                    According to Captain Mayton, who admitted having “limited knowledge” of
             explosives, shrapnel bombs are designed to inflict “bodily harm and maximum
             damage.” (Tr. 6.)

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                   FBI Special Agent Micah Childers, who did not participate in the afternoon

             interview, had previously determined that the apprehension of defendants posed an

             “emergency situation.” (Tr. 69.) He therefore directed Captain Mayton to question

             Mr. Peace without first reading him Miranda warnings, feeling they were “good to

             go on the public safety exception.” (Id. at 68-69.) Consistent with Agent Childers’s

             directive, Captain Mayton approached the interview as an opportunity to “gain

             information that would prevent any potential . . . public safety hazards” to civilians

             and law enforcement personnel. (Id. at 11; see also id. at 25-26, 48-49.) He was also

             troubled by the dangers officers could face in executing a search warrant at

             defendant’s residence. (Id. at 12, 14-15.) Thus, the purpose of the interview was

             also “to curtail any hazards to [the] law enforcement personnel that would be

             responding to the search warrant.” (Id. at 12.)

                   Captain Mayton was present for the controlled delivery at Walmart, but did

             not question Mr. Peace in the parking lot or during defendant’s ride to the Sheriff’s

             Office. (Tr. 19-22.) Instead, he waited to begin the interview until 2:44 p.m.,

             approximately forty minutes after Mr. Peace arrived at the Sheriff’s Office. (Id. at

             9-10.) At the outset, Captain Mayton advised Mr. Peace that he would not question

             him about the events surrounding his arrest. He was purely “concerned about things

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             that could happen, future events, people getting hurt, . . . public safety.” (Gov’t Ex.

             1, at 2:45:03-10.7) The Captain then asked defendant to “lay it out to [him]: what

             the plans were, who they involved, where they’re at.” (Id. at 2:45:47-53; see also id.

             at 2:50:32-38 (“I would specifically like to know about any other people affiliated

             with you, what their intents are, what their targets are.”).)

                   To ensure there would not be “any problems” with the interrogation, Mr. Peace

             called to the officers’ attention their failure to Mirandize him. (Gov’t Ex. 1, at

             2:45:57-46:00.) Implying that warnings were not forthcoming, Captain Mayton

             explained, “I’m not particularly asking you about your crime today. I’m interested

             in anything that prevents somebody from getting hurt.” (Id. at 2:46:04-10; see also

             id. at 2:45:27-34 (“I’m not particularly interested in anything that happened today.

             I’m interested in future events, future problems.”); id. at 2:50:09-16 (“My motivation

             right now is to stop any or learn about any other incidences where innocent people

             can get hurt.”); id. at 3:03:35-41 (“My only agenda, at this point, is just to try to

             identify some of those imminent threats to public safety.”).)




                   7
                     Citations to government Exhibits 1 and 2, DVD recordings of the afternoon
             and evening interviews, refer to the time stamp found in the upper left corner of the
             video frame.

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                   Pressed to be candid, Mr. Peace told Captain Mayton that his group had not

             intended to visit harm upon civilians and would have resorted to violence only to

             defend themselves if fired upon by police. (Gov’t Ex. 1, at 2:46:23-57.) Professing

             that “human lives are sacrosanct, we’re all Americans,” Mr. Peace assured the

             Captain that their targets were infrastructure (“like power lines leading to a police

             station”), not persons. (Id. at 2:46:50-47:11.) Asked whether one of the plans had

             been to disable power lines connected to police stations, Mr. Peace answered that

             “nobody made any specific plans.”         (Id. at 2:47:14-23.)    Other units were

             autonomous and would devise plans that were “right” for them. (See id. at 2:47:24-

             34.) As for his people, Mr. Peace claimed that they had planned to destroy armored

             police vehicles. He believed it was “ridiculous” for police stations to possess such

             apparatus; by blowing up armored vehicles he and his codefendants would “make a

             statement.” (Id. at 2:48:11-37.) Because Mr. Peace had attempted to obtain shrapnel

             bombs, which are not used to demolish infrastructure, Captain Mayton expressed

             incredulity at Mr. Peace’s protestation that he had not intended to harm human

             beings. (Id. at 2:47:53-48:03.)

                   Captain Mayton informed Mr. Peace that he knew defendants’ operation was

             supposed to spur like-minded groups to rise up against the government. (Gov’t Ex.

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             1, at 2:48:44-56; see also id. at 2:49:16-20 (“I know that you were the catalyst for all

             this; when you got started things were going to fall into place.”).) Impressing upon

             Mr. Peace the gravity of the situation (“The decisions you make right now are going

             to affect the rest of your life, the rest of your family’s life.”), the Captain related his

             fear that when other groups caught wind of Mr. Peace’s arrest, they would carry out

             whatever attacks they had planned. (Id. at 2:49:00-31.) The officers warned Mr.

             Peace that, contrary to the humanitarian impulses he professed, other militias might

             actually intend to inflict harm on innocent persons. In addition, destruction of

             infrastructure, although not motivated by a desire to harm the public, might be

             accomplished with a collateral body count. (Id. at 2:49:32-50:00.)

                    While this plea to conscience did not impel Mr. Peace to surrender details of

             plans hatched by other militias, he did not outright decline to cooperate with law

             enforcement. He instead pleaded ignorance; the groups he had communicated with

             had not discussed targets and he had “no idea what they had in mind or even if they

             would go through with” whatever they did have planned. (Gov’t Ex. 1, at 2:50:40-

             48.) “You would think things . . . were organized,” he added, “but unfortunately

             that’s not the case.” (Id. at 2:50:50-54.) In response to the Captain’s many prompts,

             defendant was adamant that he did know the specific targets of other groups. (See

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             id. at 2:57:44-58:11, 3:01:02-06, 3:02:11-21.) Nonetheless, Mr. Peace did not deny

             that these groups had planned to join his mission and had plans of their own.

                   Mr. Peace spoke about other militias in vague terms (“The largest group . . .

             is based out of Kansas, and they have people in Missouri, and Oklahoma.”), but said

             that to provide the names of the militias and individuals affiliated with them he

             would need access to his computer. (Gov’t Ex. 1, at 2:51:10-52:22; Tr. 47.) Mr.

             Peace attributed his inability to recall the information sought by the officers to a

             traumatic brain injury. “Things past 72 hours I have a hard problem remembering,”

             he said. (Gov’t Ex. 1, at 2:52:36-49.) He did recall that one of the largest militias

             had 300 members and were equipped with “the works”: body armor, gas masks,

             helmets, weapons, pistols, and ammunition. (Id. at 2:53:00-24.) Mr. Peace stated

             that he had communicated with other militias primarily through Facebook and had

             used his email account to arrange transfers of supplies among them. (Id. at 2:53:39-

             56:22.) He denied meeting with anyone from other militias in person. (Id. at

             2:57:51-58:10.)

                   Captain Mayton again voiced his concern that militias would react violently

             to word of Mr. Peace’s capture. (See Gov’t Ex. 1, at 2:59:07-56.) “I know . . . that

             the catalyst for them acting was you.” (Id. at 2:59:26-34.) “Right,” defendant said,

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             nodding. (Id. at 2:59:35.) When the Captain suggested that Mr. Peace was “at the

             top of the food chain,” defendant replied “yes” and nodded again. (Id. at 2:59:37-42;

             see also id. at 2:48:44-55 (Mr. Peace nodded when Captain Mayton described him

             as the catalyst of the anti-government revolt).) “It’s gonna happen,” Captain Mayton

             said, pushing Mr. Peace to provide details about “upcoming events.” (Id. at 2:59:42-

             52.) “If they find out that you’re here, they’re gonna move.” (Id. at 2:59:53-56.)

             Mr. Peace felt that some of the militias would “run and hide” at the news because

             they were scared of “the Feds.” (Id. at 2:58:53-59:01, 3:00:17-31.) He conceded,

             however, that he did not have “a good feel” for some other groups, which he

             described as a “giant question mark.” (Id. at 3:00:31-57.)

                   Several times, Mr. Peace informed the officers that he could provide them

             names and contact information of individuals in other militias if he had access to

             email and social media. (See Gov’t Ex. 1, at 2:52:03-07 (“I’d have to get my

             computer and look up names on there.”); id. at 2:54:39-42 (stating that a particular

             militia leader’s name is “on my Facebook”); id. at 2:55:55-58 (“I could look at my

             emails and tell you who it is.”).) Captain Mayton eventually asked Mr. Peace, “If we

             had your computer and we had it sitting here in front of you, you could whip all that

             stuff out?” (Id. at 3:06:12-17.) After Mr. Peace confirmed that he could, Captain

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             Mayton told Agent Harris that he was “not opposed to that if [they could] make that

             happen.” (Id. at 3:06:18-31.) The two officers then exited the interview room. (Id.

             at 3:06:43-50; Tr. 13.)

                   When they reconvened the interrogation eight minutes later, at 3:14 p.m., FBI

             Intelligence Analyst Melvin Scott joined them. (Tr. 16-17, 40-41.) Captain Mayton

             and Agent Harris briefly questioned Mr. Peace about the persons living at his

             residence and dangers that officers could face executing a search warrant there.8 (Id.

             at 14-15, 44; see Gov’t Ex. 1, at 3:15:15-18:53.) From there, the officers segued into

             questions regarding the events that had precipitated Mr. Peace’s arrest.

                   Because this line of questioning was not directed toward safeguarding the

             public from imminent threats, Agent Harris attempted to advise defendant of his

             Miranda rights. (Tr. 14, 44.) He explained to Mr. Peace:

                   [W]e covered the emergency stuff that we think would prevent anybody
                   from getting hurt in the immediate future, and you’ve been real
                   forthcoming and I appreciate that and I feel safe speaking for him too.
                   We’re going to talk about what happened today, now. And you don’t
                   have to talk to us and I know you know your Miranda rights but I want
                   to explain them to you. Anyway, you don’t have to talk to us. If you

                   8
                     In fact, law enforcement had begun the search of Mr. Peace’s residence at
             2:30 p.m. (Tr. 67.) Captain Mayton was not aware that the search warrant had
             already been executed by the time they questioned Mr. Peace about potential dangers
             lurking at his residence. (Id. at 51.)

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                   do decide you want to talk to us—and I hope you do—if you just get
                   uncomfortable for whatever reason and decide you don’t want to talk
                   to us, you can change your mind at any time and stop the conversation.
                   Okay? With that said, do you agree to continue to talk to us about what
                   happened today?

             (Gov’t Ex. 1, at 3:20:54-21:37.) Defendant replied that this was a “difficult”

             decision to make and asked Agent Harris what his questions were. (Id. at 3:21:41-

             52.) Agent Harris repeated that Mr. Peace was not obligated to talk:

                   Like I said, if you change your mind at any time . . . you can stop.
                   Okay? I also have to tell you by law you have the absolute right to
                   have an attorney with you while you’re being questioned. When we are
                   questioning you, again, if you start to feel uncomfortable and you think
                   you want an attorney you can stop the interview at any time and say I
                   want an attorney. Okay? . . . Those are your rights.

             (Id. at 3:21:54-3:22:20.) Defendant then invoked his right to counsel. (See id. at

             3:22:32-23:06; Tr. 45) Nonetheless, the agents continued to question Mr. Peace

             without an attorney present. (Tr. 17, 45-46.) The afternoon interview ended at 3:39

             p.m. (Id. at 17-18.)9

                   As the interrogation neared its end, Captain Mayton invited Mr. Peace to

             continue their discussion at a later time: “If you change your mind and want to talk

                   9
                     During the afternoon interview, law enforcement refrained from promising
             Mr. Peace any favors, did not force him to answer questions, and did not threaten
             him. (Tr. 18-19.) He was not handcuffed and was provided with water. (Id. at 14,
             22-23.)

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             to us, you just need to reach out for us and let us know, okay?” (Gov’t Ex. 1, at

             3:25:29-35; Tr. 46.) Agent Harris echoed this sentiment by adding, “If you think of

             something while you’re sitting in here that you think we need to know, I’m not

             asking you to tell us, you have a responsibility to tell us.” (Gov’t Ex. 1, at 3:26:08-

             18.) Before Mr. Peace was escorted from the interview room to a holding cell,

             Captain Mayton extended this parting invitation: “If you change your mind and want

             to talk, I’ll be around . . . My name is Mark Mayton . . . and I’m with the Sheriff’s

             Office. I’m a captain here.” (Id. at 4:20:07-22; Tr. 46.)

                   C.     The Evening Interview

                   Around 10:30 p.m. that same day, Agent Childers, having completed a search

             of Mr. Peace’s residence, returned to the Bartow County Sheriff’s Office. (Tr. 55.)

             After speaking with Mr. Cannon, Agent Childers was notified that Mr. Peace had

             requested to speak with law enforcement. (Id. at 55-57.) Agent Childers led Mr.

             Peace to the same room that Captain Mayton used to interview defendant in the

             afternoon. (Id. at 57, 69.) They were joined there by FBI Special Agent Chris

             Bower and Intel Analyst Scott. (Id. at 60.) Agent Childers began interviewing

             defendant shortly after 11:00 p.m. (Id.)




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                   Initially, Agent Childers had Mr. Peace write a statement to explain why he

             had reached out to law enforcement. (Tr. 60, 70.) Mr. Peace penned the following

             on a sheet of lined paper: “I pushed button on wall and requested to speak.

             Eventually a deputy came and I told him I would like to speak with the Captain that

             interrogated me earlier [i.e., Mark Mayton]. After some time I was taken to see

             them.” (Gov’t Ex. 3; see also Gov’t Ex. 2, at 11:02:04-05 (upon arriving in the

             interview room, Mr. Peace explained that he had asked to speak with Captain

             Mayton); Tr. 70.) Mr. Peace told law enforcement he was interested in cooperating.

             (Tr. 62-63.) Agent Childers notified defendant that they could not promise him

             anything in return for his cooperation, except to inform the prosecuting attorney that

             he had cooperated. (Id. at 63, 65.)

                   Although Captain Mayton had purported to conduct the afternoon interview

             under the public safety exception, Agent Childers determined that the emergency

             necessitating the use of the exception had ended. (Tr. 64, 68-69, 72.) Accordingly,

             Mr. Peace was advised of his Miranda rights. (Id. at 61, 72.) Mr. Peace signed an

             Advice of Rights form consenting to speak to officers without his attorney present.

             (Id. at 61-62, 72; Gov’t Ex. 4.)




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                   In many respects, the evening interview resembled the afternoon interview.

             “What we’d really, really be interested in maybe is some plots that are moving

             forward,” Agent Childers began. “That’s really the thing that we’re very, very

             interested in . . . .” (Gov’t Ex. 2, at 11:11:29-41; see also id. at 11:12:52-13:05 (“If

             you have any information about immediate type of things . . . that we really need to

             look at that maybe aren’t the legal means of making change, that would be of great

             interest to us.”); id. at 11:13:14-23 (“If there’s any plots or anything that’s going on

             that you know of or anything that we really need to look at, not maybe with your

             situation, but with other situations.”).)        The evening interview ended at

             approximately 1:30 a.m. on February 16. (See Gov’t Ex. 2.)10

                   D.     The Indictment

                   On March 12, 2014, the Grand Jury returned a single count Indictment [27]

             against defendants alleging their participation in a conspiracy to possess a destructive

             device not registered to them in the National Firearms Registration and Transfer

             Record, in violation of 18 U.S.C. § 371 and 26 U.S.C. §§ 5861(d) and 5871.


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                      As with the afternoon interview, during the evening interview Mr. Peace
             was provided with water, not handcuffed, not forced or threatened to answer
             questions, and did not appear to be under the influence of drugs or other intoxicants.
             (Tr. 59, 65-66.)

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             II.   APPLICABLE LAW

                   A.     Miranda v. Arizona

                   The Fifth Amendment to the Constitution provides that no person “shall be

             compelled in any criminal case to be a witness against himself.” U.S. Const. amend.

             V. In Miranda v. Arizona, the Supreme Court found that the Fifth Amendment’s

             privilege against self-incrimination is jeopardized “when an individual is taken into

             custody or otherwise deprived of his freedom by the authorities in any significant

             way and is subjected to questioning.” 384 U.S. at 478. To protect the privilege

             against the coercion inherent in custodial interrogations, the Court laid down

             “concrete constitutional guidelines for law enforcement agencies and courts to

             follow.” Id. at 442. These guidelines establish that “the admissibility in evidence

             of any statement given during custodial interrogation of a suspect [depends] on

             whether the police provided the suspect with four warnings.” Dickerson v. United

             States, 530 U.S. 428, 436 (2000). Specifically, police must warn a suspect that he

             “has the right to remain silent, that anything he says can be used against him in a

             court of law, that he has the right to the presence of an attorney, and that if he cannot

             afford an attorney one will be appointed for him.” Miranda, 384 U.S. at 479.




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                    The Court has described Miranda as a “prophylactic” rule, see, e.g., United

             States v. Patane, 542 U.S. 630, 636 (2004), whose procedural safeguards are “not

             themselves rights protected by the Constitution but [are] instead measures to insure

             that the right against compulsory self-incrimination [is] protected,” Michigan v.

             Tucker, 417 U.S. 433, 444 (1974); see also Oregon v. Elstad, 470 U.S. 298, 306

             (1985) (explaining that the Miranda exclusionary rule “may be triggered even in the

             absence of a Fifth Amendment violation”). Moreover, Miranda was not intended to

             “create a constitutional straightjacket.” Tucker, 417 U.S. at 444 (quoting Miranda,

             384 U.S. at 467). In New York v. Quarles, 467 U.S. 649 (1984), the Court relied on

             this flexibility in Miranda to carve out a public safety exception to its bright-line rule.

             See United States v. Brady, 819 F.2d 884, 887 (9th Cir. 1987) (“Inasmuch as the

             Miranda warning requirement is not a constitutional right, but rather a ‘prophylactic’

             measure, exceptions are constitutionally permissible.” (citations omitted)).

                    B.     Public Safety Exception

                           1.     New York v. Quarles

                    In Quarles, the Supreme Court crafted an exception to Miranda for situations

             where a suspect’s silence may imminently endanger the public or police. After

             cornering a rape suspect in a supermarket, police found that the suspect, reported to

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             be armed, was wearing an empty holster. 467 U.S. at 651-52. Without first giving

             him Miranda warnings, police asked Quarles where he had ditched the gun. Id. at

             652. He responded, “the gun is over there,” and gestured toward a stack of empty

             cartons. Id. Behind the cartons, police found a loaded revolver. Id.

                   At Quarles’s subsequent prosecution for possession of a weapon, the trial court

             excluded from evidence his statement about the gun, believing that police had

             violated Miranda by inquiring about the weapon’s whereabouts before advising

             Quarles of his constitutional rights. 467 U.S. at 652-53. New York’s highest court

             affirmed the trial court’s holding. Id. at 653.

                   The Supreme Court took a different view. First recognizing that Quarles made

             an incriminating statement in response to custodial interrogation—Miranda’s

             trigger—the Court held the police lawfully questioned Quarles without first reciting

             warnings because there is a “public safety” exception to Miranda. 467 U.S. at 655.

             The danger the missing gun posed was “obvious[],” the Court said; “an accomplice

             might make use of it, a customer or employee might later come upon it.” Id. at 657.

             The volatility of this situation did not strip Quarles of his core constitutional rights;

             Quarles, importantly, does not permit police to extract involuntary confessions in the

             name of public safety. See id. at 655 n.5. But because the cost of Quarles’s silence

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             in this situation “would have been something more than merely the failure to obtain

             evidence useful in convicting Quarles,” the Court refused to insist upon a roadblock

             to a waiver of his privilege against self-incrimination. Id. at 657. “[T]he need for

             answers to questions in a situation posing a threat to the public safety outweighs the

             need for the prophylactic rule protecting the Fifth Amendment’s privilege against

             self-incrimination.” Id. In such a circumstance, if the police were to apprise a

             suspect of his right to remain silent it might discourage the suspect from divulging

             information that could help police neutralize the hazard. Id.

                   To the concurrence and dissent, the Quarles majority had done away with one

             of Miranda’s most desirable features—its clarity. See 467 U.S. at 660 (O’Connor,

             J., concurring) (“[T]he Court has not provided sufficient justification for departing

             from [Miranda] or for blurring its now clear strictures.”); id. at 674 (Marshall, J.,

             dissenting) (faulting the majority for “condemn[ing] the American judiciary to a new

             era of post hoc inquiry into the propriety of custodial interrogations”).11 The


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                      Justice Marshall argued that Miranda itself sufficiently protects public
             safety. See Quarles, 467 U.S. at 686. “If a bomb is about to explode or the public
             is otherwise imminently imperiled, the police are free to interrogate suspects without
             advising them of their constitutional rights. . . . [N]othing in the Fifth Amendment
             or our decision in Miranda . . . proscribes this sort of emergency questioning. All the
             Fifth Amendment forbids is the introduction of coerced statements at trial.” Id.

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             majority agreed that it had to some degree “lessen[ed] the desirable clarity of

             [Miranda].” Id. at 658.

                   Nonetheless, the Court did not provide much concrete guidance as to when the

             exception might apply, confident that “police officers [could] distinguish almost

             instinctively between questions necessary to secure their own safety or the safety of

             the public and questions designed solely to elicit testimonial evidence from a

             suspect.” 467 U.S. at 658-59; see also id. at 659 (“The exception which we

             recognize today, far from complicating the thought processes and the on-the-scene

             judgments of police officers, will simply free them to follow their legitimate instincts

             when confronting situations presenting a danger to the public safety.”). The Court

             was clear that the subjective motivations of police do not govern the exception’s

             application. Id. at 656. Rather, questioning within the exception must advance an

             “objectively reasonable need to protect the police or the public from an[] immediate

             danger.” Id. at 659 n.8. And where there is “no exigency requiring immediate action

             by the officers beyond the normal need expeditiously to solve a serious crime,”

             police cannot rely on Quarles to sanitize un-warned interrogations. Id.12

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                       In Dickerson, the Supreme Court held that Miranda announced a
             constitutional rule of law. See 530 U.S. at 437-44. Therefore, as one circuit noted,
             “[t]he rationale supporting [the] public safety exception has been, to some degree,

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                          2.    Eleventh Circuit Authority

                   The Eleventh Circuit has addressed the public safety exception three times,

             twice in published opinions. In United States v. Newsome, 475 F.3d 1221 (11th Cir.

             2007) (per curiam), the defendant was the prime suspect in the non-fatal shooting of

             his wife and child. Id. at 1222. Because the officers who traveled to a motel to

             apprehend Newsome knew that he was a violent offender and possibly in the

             possession of a gun, they vacated the surrounding motel rooms and entered the room

             the defendant had rented with their guns drawn. Id. at 1223. Having handcuffed

             Newsome, one officer, before Miranda rights were read, asked Newsome if there was

             “anything or anyone in the room that [he] should know about.” Id. (alteration in

             original). The defendant directed police to a pistol. Id.

                   The Circuit found that the public safety exception applied, explaining that

             because officers were aware that at least two people were in Newsome’s motel room

             they had reason to fear an ambush. 475 F.3d at 1225. “The officers reasonably

             believed that they were in danger, and they acted accordingly to protect themselves

             and other motel guests in making the arrest.” Id. The Circuit noted that the officer



             called into question by Dickerson.” Allen v. Roe, 305 F.3d 1046, 1050 n.4 (9th Cir.
             2002).

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             asked only what was necessary to secure the scene. The broad phrasing of the

             question was not problematic because “[a]n officer is not expected to craft a perfect

             question in the heat of the moment.” Id.

                    The Circuit again addressed the exception in United States v. Smith, 322 F.

             App’x 876 (11th Cir. 2009) (per curiam), where police confronted the defendant after

             a car accident in the parking lot of a gas station late at night. Id. at 878. The officer,

             who noticed that the defendant was agitated and reeked of alcohol, asked

             him—without giving Miranda warnings—if he had any weapons on him. Id. Smith

             responded that he had a gun in his car. Id. The Circuit concluded that the officer’s

             question was permissible under the public safety exception, because “[i]t was

             reasonable for the officer to ask Smith about weapons to protect his own safety and

             that of others in the area based on Smith’s agitation and his strong odor of alcohol.”

             Id.

                    Most recently, in United States v. Spoerke, 568 F.3d 1236 (11th Cir. 2009),

             an officer pulled over a vehicle carrying what he suspected to be improvised

             explosive devices. Id. at 1241. Before advising the suspect of his Miranda rights,

             the officer inquired what the devices were (pipe bombs, Spoerke responded) and

             what materials were used to make the bombs. Id. The Eleventh Circuit did not find

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             extensive analysis necessary to conclude that “[t]he threat posed by two pipe bombs

             in a vehicle on a city street” outweighs the need for Miranda warnings. Id. at 1249.

                           C.   Suppression of Postwarning Statements

                   In Oregon v. Elstad, the Supreme Court was required to decide whether an

             initial failure of law enforcement officers to administer Miranda warnings tainted

             subsequent admissions made after the suspect was fully advised of and waived his

             rights. 470 U.S. at 300. Arguments favoring suppression of the later confession

             relied heavily on the Fourth Amendment “tainted fruit of the poisonous tree”

             doctrine. Id. at 303. However, underscoring fundamental differences between the

             function of Miranda and the role of the Fourth Amendment exclusionary rule, the

             Court held that Miranda “does not require that the statements and their fruits be

             discarded as inherently tainted.” Id. at 306-07.

                   It is an unwarranted extension of Miranda to hold that a simple failure
                   to administer the warnings, unaccompanied by any actual coercion or
                   other circumstances calculated to undermine the suspect’s ability to
                   exercise his free will, so taints the investigatory process that a
                   subsequent voluntary and informed waiver is ineffective for some
                   indeterminate period. Though Miranda requires that the unwarned
                   admission must be suppressed, the admissibility of any subsequent
                   statement should turn in these circumstances solely on whether it is
                   knowingly and voluntarily made.

             Id. at 309.

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                   The Supreme Court refined Elstad’s holding in Missouri v. Seibert, which

             tested this two-step police protocol for custodial interrogation: (1) provide no

             warnings until the interrogation has produced a confession, and (2) follow the

             confession with Miranda warnings and lead the suspect “to cover the same ground

             a second time.” 542 U.S. at 604. As the government notes (see Gov’t Resp. 14),

             because Seibert did not produce a majority opinion, the concurrence of Justice

             Kennedy controls. See Marks v. United States, 430 U.S. 188, 193 (1977) (“When

             a fragmented Court decides a case and no single rationale explaining the result

             enjoys the assent of five Justices, the holding of the Court may be viewed as that

             position taken by those Members who concurred in the judgments on the narrowest

             grounds . . . .”) (internal quotation marks and citation omitted); United States v.

             Street, 472 F.3d 1298, 1313 (11th Cir. 2006) (“Because Seibert is a plurality decision

             and Justice Kennedy concurred in the result on the narrowest grounds, it is his

             concurring opinion that provides the controlling law.”).

                   In his concurrence, Justice Kennedy asserted his opinion that Elstad was

             “correct in its reasoning and its result.” Seibert, 542 U.S. at 620. However, Seibert

             raised new considerations; unlike the accidental violation in Elstad, police had used

             a question-first technique based on a deliberate violation of Miranda. Id. Such a

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             tactic, Justice Kennedy found, frustrates the purpose of Miranda and “creates too

             high a risk that postwarning statements will be obtained when a suspect was deprived

             of knowledge essential to his ability to understand the nature of his rights and the

             consequences of abandoning them.” Id. at 621 (internal quotation marks and citation

             omitted). Thus, suppression of a post-warning confession is an appropriate remedy

             if (1) “the two-step interrogation technique [is] used in a calculated way to

             undermine the Miranda warning” and (2) law enforcement did not then take

             measures to cure the defect. Id. at 621-22. Curative measures are those “designed

             to ensure that a reasonable person in the suspect’s situation would understand the

             import and effect of the Miranda warning and of the Miranda waiver.” Id. at 622.

             In the absence of a deliberate two-step strategy, Elstad governs the admissibility of

             postwarning statements. Id.

                   In contrast, the plurality’s approach conditioned the admissibility of

             postwarning statements on “whether Miranda warnings delivered midstream could

             be effective enough to accomplish their object.” Seibert, 542 U.S. at 615. In

             determining whether Miranda warnings “delivered midstream could be effective

             enough to accomplish their object,” the plurality would have courts consider these

             factors: “the completeness and detail of the questions and answers in the first round

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             of interrogation, the overlapping content of the two statements, the timing and setting

             of the first and the second, the continuity of police personnel, and the degree to

             which the interrogator’s questions treated the second round as continuous with the

             first.” Id.13

             III.   ANALYSIS

                    Mr. Peace moves the Court to suppress both sets of statements he made to

             police on February 15, 2014. First, he argues that the afternoon interview cannot be

             salvaged by the public safety exception. (Def.’s Br. 23-29; Def.’s Reply 1-2.)

             Assuming law enforcement had recourse to that narrow Miranda exception, he

             contends that so much of the interrogation strayed beyond its boundaries that “it is

             impossible to separate the strands of the dialogue that were aimed at preventing

             exigent harm from those illustrating the crime for which Mr. Peace sat arrest[ed] and

             jailed.” (Def.’s Br. 29-33.) Second, Mr. Peace argues that statements he made

             during the evening interview, which followed a voluntary and knowing waiver of his

             Miranda rights, must be suppressed because the violations of the afternoon interview



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                     Although the plurality opinion is not controlling law, the Eleventh Circuit
             has used these same factors to determine whether law enforcement employed an
             impermissible question-first tactic. Street, 472 F.3d at 1314.

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             incurably tainted the entire evening interview under Seibert. (Id. at 33-40; Def.’s

             Reply 3.)

                   The government bears the burden of showing that Mr. Peace’s in-custody

             statements were obtained in compliance with Miranda and otherwise voluntary, or

             whether some exception to the Miranda rule applies. See United States v. Chaidez-

             Reyes, 996 F. Supp. 2d 1321, 1345 (N.D. Ga. 2014). Conceding that Mr. Peace

             unequivocally invoked his Miranda rights after Agent Harris’s warnings, the

             government will not introduce in its case-in-chief statements from the afternoon

             session after Mr. Peace invoked his right to have an attorney present during

             questioning (i.e., between 3:14 p.m. and 3:39 p.m). (Gov’t Resp. 5 nn.1-2; see supra

             note 1.) The government argues that statements made at any other point during the

             afternoon interview are admissible under Quarles, and that Seibert does not dictate

             the suppression of statements Mr. Peace gave during the evening interview. (Gov’t

             Resp. 7-17.)

                   A.       Agents Lawfully Conducted the Afternoon Interview Under the
                            Public Safety Exception to Miranda

                   Most cases finding that a custodial interrogation was lawfully conducted under

             the public safety exception, like its progenitor, have involved a firearm or other


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             dangerous instrumentality in propinquity to the suspect or arresting officers, and one

             or a few spur-of-the-moment questions. Defendant repeatedly highlights how the

             instant scenario is different from the classic use of the public safety exception. (See,

             e.g., Def.’s Br. 28 (depicting Mr. Peace’s interrogation as “far afield of the narrow

             territory marked by the Quarles opinion”); id. at 30-31 (“The Eleventh Circuit has

             never applied the public safety exception to a case where the facts show a prolonged

             interrogation on a broad range of topics.”). Indeed, police here subjected defendant

             to a lengthy, pre-planned interrogation, which was intended to neutralize a less

             defined, less isolated threat than a gun or other dangerous instrumentality located

             within the vicinity of the suspect and officers.

                   Another noteworthy feature of the first issue presented is its relevance to a

             heated public debate that has arisen in the wake of high-profile, post-9/11 terrorist

             plots: How does, or how should, Miranda fit into the Nation’s efforts to combat

             terror attacks? Notwithstanding the attention and divergent views of legal scholars,

             politicians, and journalists,14 the courts have had scarce opportunity to rule on the


                   14
                     See, e.g., Geoffrey Corn & Chris Jenks, Strange Bedfellows: How
             Expanding the Public Exception to Miranda Benefits Counterterrorism Suspects, 41
             Fordham Urb. L.J. 1 (2013); Amos N. Guiora, Relearning Lessons of History:
             Miranda and Counterterrorism, 71 La. L. Rev. 1147 (2011).

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             admissibility of statements obtained from a public safety interrogation intended to

             intercept terrorist threats. (See Def.’s Br. 31 (noting the absence of authority on this

             issue).)

                    Going forward, the undersigned is mindful that the law does not deal in

             catchwords. While Mr. Peace and his codefendants planned to use violence to make

             a political statement, terroristic intentions alone do not justify the use of the public

             safety exception, if, once the perpetrators of a plot are apprehended, the danger to the

             public or police has evaporated. Quarles does not drape a blanket over any class of

             cases (i.e., those that bear upon national security), but demands a case-by-case

             analysis. See Quarles, 467 U.S. at 655; see also United States v. Estrada, 430 F.3d

             606, 613 (2d Cir. 2005) (the public safety exception is a “function of the facts of

             cases so various that no template is likely to produce sounder results than examining

             the totality of the circumstances in a given case” (internal quotation marks and

             citation omitted)).

                    Although this case differs in several respects from the “loose firearm”

             scenario, the instant case finds a helpful comparator in that of Umar Farouk

             Abdulmutallab, the man popularly known as the “Underwear Bomber.”                   On

             Christmas Day 2009, as Northwest Airlines Flight 253 from Amsterdam was on its

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             final descent into Detroit, Abdulmutallab tried but failed to detonate plastic

             explosives sewn inside his underwear. United States v. Abdulmutallab, No. 10-

             20005, 2011 WL 4345243, at *1 (E.D. Mich. Sept. 16, 2011); United States v.

             Abdulmutallab, 739 F.3d 891, 895 (6th Cir. 2014). After the plane landed safely, the

             defendant was taken to the hospital to receive treatment for third degree burns he had

             suffered when the explosives malfunctioned. 2011 WL 4345243, at *1. About three

             hours after his arrival at the hospital, FBI agents questioned the defendant without

             providing Miranda warnings. Id. “Mindful of [his] self-proclaimed association with

             al-Qaeda and knowing the group’s past history of large, coordinated plots and

             attacks, the agents feared that there could be additional, imminent aircraft attacks in

             the United States and elsewhere in the world.” Id. Thus, the agents asked

             Abdulmutallab about “where he traveled, when he had traveled, how, and with

             whom; the details of the explosive device; the details regarding the bomb-maker,

             including where [he] had received the bomb; his intentions in attacking Flight 253;

             who else might be planning an attack; whether he associated with, lived with, or

             attended the same mosque with others who had a similar mind-set as [the d]efendant

             about jihad, martyrdom, support for al-Qaeda, and a desire to attack the United States

             by using a similar explosive device on a plane, and what these individuals looked

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             like.” Id. at *5. In response to a motion to suppress, the court found that the un-

             warned interrogation was “fully justified” by the public safety exception. Id. at *6.

                   The officer’s interrogation of Mr. Peace can be distinguished from

             Abdulmutallab’s because the government does not claim that, like al-Qaeda, the anti-

             government militias with whom Mr. Peace communicated have a history of

             executing coordinated terrorist attacks. However, FBI agents had no need to infer

             a threat to public safety here, as they did in Abdulmutallab, because they had

             evidence that defendants were actively promoting a multifaceted terror operation, one

             of such scale it was intended to trigger the institution of martial law. Therefore, law

             enforcement had reason to believe that defendants were planning something

             catastrophic.

                   Stepping inside the interview room on the afternoon of February 15, 2014,

             Captain Mayton and Agent Harris were aware of these important facts: (1) Mr.

             Peace and his codefendants had just tried to get their hands on more than a dozen

             explosive devices; (2) they had been communicating via the Internet with individuals

             who shared their misgivings about the government and a willingness to address what

             injustices they perceived through premeditated violence; and (3) as soon as




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             defendants commenced their attacks, the clock would start running for other militias

             to carry out attacks of their own initiatives.

                   Based on this information, law enforcement had an objectively reasonable

             basis to (1) fear that other militias would fill the vacuum created by defendants’

             apprehension and quickly perpetrate terror plots before police had the chance to

             preempt them, and (2) think that Mr. Peace held information that could prove useful

             in thwarting operations against infrastructure, police, and civilians. As in Quarles,

             where officers “were confronted with the immediate necessity” of locating a loose

             and loaded revolver, 467 U.S. at 657, officers here were confronted with the

             immediate necessity of uncovering the plans of other militant, anti-government

             groups.

                   Albeit factually distinct, Quarles and this case raise identical concerns. Like

             a loaded revolver jettisoned in a public place, a terrorist plot, whether of foreign or

             domestic origin, whether motivated by jihad or a secular grievance with government,

             presents a grave threat to public safety. As such, Captain Mayton and Agent Harris

             lawfully questioned Mr. Peace, the putative fomenter of a violent revolt, about other

             militias, their members, their locations, and their plans, without first reading him




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             Miranda rights. Their interrogation falls within the scope of the public safety

             exception.

                   Mr. Peace resists this outcome. First, he argues that Captain Mayton made a

             fatal concession when he testified that the afternoon interview was purposed to

             prevent violent events that could happen in the future. (Def.’s Br. 23-24.) “[F]or

             even by his own terms,” defendant writes, “the agent was not aiming to solve a

             contemporaneous, in-progress emergency, but only prospective harm. This set of

             facts is jarringly dissonant with the underlying spirit, and letter, of the Quarles

             opinion itself.” (Id.)

                   The Quarles exception is temporally bound; the danger that the interrogation

             seeks to prevent must be “immediate.” Quarles, 467 U.S. at 657, 659 n.8. However,

             by contrasting the potential, future threat of harm in this case to the supposedly

             actual and present threat confronted by officers in Quarles, defendant has invented

             an untenable distinction, because the very nature of a public safety threat is

             prospective. In Quarles, law enforcement confronted the possibility that someone

             in the near future would stumble upon the discarded firearm and misuse it. Likewise,

             the officers who interviewed Mr. Peace faced the possibility that militant groups

             would perpetrate violence within a period of hours. For purposes of the public safety

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             exception, there is no difference between a gun waiting to fall into the wrong hands

             and a cluster of militias waiting to launch a guerilla war. Notably, there is no

             language in Quarles to suggest it is geographically bound. The fact that other

             militias were operating in other states does not lessen the exigency.

                   Defendant also attempts to heighten the Quarles standard by quoting from its

             dissent, where Justice Marshall writes that officers are free to question suspects when

             a “bomb is about to explode.” (Def.’s Br. 21 (quoting 467 U.S. at 686).) Justice

             Marshall, however, was not characterizing the narrowness of the majority’s holding.

             He was making the point that Miranda does not prohibit questioning about a ticking

             time bomb or anything else, but only the admission into evidence of unwarned

             statements. (See supra note 11.) In his unadopted view, if police need information

             to defuse a public safety threat, they should do their duty to the public and ask—and

             the courts should do theirs to the Constitution and suppress.

                   Second, Mr. Peace argues that the police behaved in a manner belying the

             existence of an emergency. (Def.’s Br. 5-7, 24-25.) Defendant first wonders why

             police would wait seventy minutes to question the “criminal who was thought to

             represent a tipping point in an imminent and disastrous period of public violence,

             who was then believed to hold in his mind a catalog of names and places critical for

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             law enforcement to neutralize the danger.” (Id. at 6.) After all, could police not have

             questioned Mr. Peace in the Walmart parking lot, in the backseat of the patrol car en

             route to the jail, or from the second he was seated in the interview room? (See id. at

             5-6.) He also points out that the officers never provided him with a computer, which,

             according to Mr. Peace, contained some of the information officers were seeking.

             (Id. at 27-28.)

                   This argument takes aim at the subjective motivations of the questioning

             officers, which are not accounted for under the objective standard established in

             Quarles. See United States v. Liddell, 517 F.3d 1007, 1009 (8th Cir. 2008) (“The

             exception does not depend upon the subjective motivation of the questioning

             officers. Instead, the Court adopted an objective standard: the exception applies

             when ‘police officers ask questions reasonably prompted by a concern for the public

             safety.’” (quoting Quarles, 467 U.S. at 656)). Therefore, when Mr. Peace contends

             that the officers’ actions—delaying the interrogation, not offering him a

             computer—show they “did not believe . . . that [the interrogation] was necessary” to

             prevent a threat to public safety, he is stating an irrelevancy. (See Def’s Br. 24.)

                   Moreover, the officers’ actions did not betray a lack of urgency. After

             defendants were taken into custody, searched, brought to the Sheriff’s Office, and

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             seated in interview rooms, only forty additional minutes passed before Captain

             Mayton began questioning Mr. Peace. The undersigned declines to presume that

             officers frittered away this time. Given the intricacy of the FBI’s investigation and

             the operation in the Walmart parking lot—which defendant dramatically describes

             as an operation with many moving parts (see Def.’s Br. 25)—law enforcement

             apparently had related issues to address. Captain Mayton apologized for the delay

             to Agent Harris when he entered the interview room, explaining that he had been

             working out “some logistics.” (Gov’t Ex. 1, at 2:44:33-35.) In other cases,

             equivalent passages of time between arrest and questioning have not barred reliance

             on the public safety exception. See, e.g., United States v. Ferguson, 702 F.3d 89, 96

             (2d Cir. 2012) (exception applied where interrogation occurred sixty to ninety

             minutes after the defendant’s arrest, because this “brief[] amount of time did not

             diminish the officers’ objectively reasonable need to protect the public” from an

             imminent threat); Allen, 305 F.3d at 1051 (rejecting the defendant’s argument that

             the “significant” amount of time between the shooting and the suspect’s questioning

             as to the location of the gun meant that there ceased to be immediate danger to the

             public; holding instead that “[i]f the gun was discarded in a public place, it posed a




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             continuing immediate danger because anyone could have found the gun at any

             time”).

                   Concerning the trove of useful information Mr. Peace promised to unveil if

             given a computer, there are several reasons other than a lack of urgency why the

             police may have declined to pursue that avenue. For one, the officers proposed

             providing Mr. Peace with a computer shortly before they transitioned from a public

             safety interrogation to standard questioning about defendant’s crime. Since the

             officers determined no longer to question Mr. Peace under the public safety

             exception, they had no immediate need to access that information. In addition,

             handing Mr. Peace a computer or other device with Internet access involved a fair

             amount of risk. Granted the opportunity to access his email and social media

             accounts, defendant could have deleted incriminating information or sent an alert to

             other militias. Captain Mayton and Agent Harris may have decided that an

             evidentiary search of Mr. Peace’s Internet accounts was better left to the forensics

             experts.

                   Finally, Mr. Peace wrongly asserts that the public safety threat was “predicated

             entirely upon [his] successful purchase of pipe bombs,” and thus when defendants

             were arrested the “fear of future harm [was] greatly diminished, if not entirely

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             undone.” (Def.’s Br. 4-5, 25.) As made clear throughout the afternoon interview,

             law enforcement’s fear was predicated on the possibility that militias, hearing of

             defendants’ arrest, would set out to finish what Mr. Peace had begun. Mr. Peace

             points out that he and his codefendants were “held at the jail incommunicado from

             the rest of the world” (id. at 25), but there are other ways the militias could have

             learned about defendants’ arrest. Someone living at Mr. Peace’s residence could

             have alerted them, and word of defendants’ arrest was rapidly spread by news outlets

             and social media. See, e.g., Rodney Thrash, 3 in custody after FBI operation in

             Cartersville, Atlanta J.-Const., Feb. 15, 2014 (noting that reports about the FBI

             operation had surfaced on Twitter). Furthermore, if Mr. Peace’s catalyzing operation

             did not transpire at the appointed time, another militia, whether or not it knew the

             cause of his failure to act, might decide to become the catalyst in defendant’s stead.

             Although defendant now argues that any threat to public safety was undone by his

             arrest, he did not convey the same assurance during his interview, where he

             described other militias as “giant question mark[s].” In summary, Captain Mayton

             and Agent Harris did not violate Miranda by relying on the public safety exception

             to question Mr. Peace without warnings.




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                   B.     Questions Asked During the Afternoon Interview Did Not Exceed
                          the Scope of a Valid Public Safety Interview

                   Assuming that the public safety exception permitted law enforcement to

             interrogate Mr. Peace without the benefit of Miranda warnings, he argues that “much

             of the question-and-answer session strayed far beyond” the perceived future threat

             by other militias. (Def.’s Br. 29-33.) In Quarles, the Supreme Court noted that the

             public safety exception is “circumscribed by the exigency which justifies it.” 467

             U.S. at 658. Thus, questions posed in a public safety inquiry must be “necessary to

             secure [the officers’] own safety or the safety of the public,” and may not be

             “designed solely to elicit testimonial evidence from a suspect.” Id. at 659; see also

             United States v. Laughlin, No. 1:10-CR-113-TWT/AJB, 2012 WL 3065404, at *22

             (N.D. Ga. July 6, 2012). “[T]o fall within the exception, a question must have some

             rational relationship to defusing the perceived danger.” United States v. Henry, 939

             F. Supp. 2d 1279, 1297 (N.D. Ga. 2013).

                   Defendant objects to the general tenor of the interview, but he also particularly

             quarrels with three statements. First, early in the interview, Captain Mayton told Mr.

             Peace that he needed to be “very forthcoming . . . about what the plans were.”

             (Def.’s Br. 29 (quoting Gov’t Ex. 1, at 2:46:15-19) (emphasis added).) He argues



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             that this “open-ended query could only have induced [him], as it did, to talk about

             himself and his co-defendants and the very crime” for which he stands charged. (Id.

             at 29-30.) The query can be viewed as open-ended, however, only if lifted from its

             context. In the minutes preceding this prompt, Captain Mayton spelled out to Mr.

             Peace twice that his crime (what “happened today”) did not interest him, and that his

             questions targeted future harm and threats to the public that police had not already

             neutralized. (See Gov’t Ex. 1, at 2:44:57-46:12.) Given this explanatory preface,

             Captain Mayton’s query is not open to interpretation. And as the Eleventh Circuit

             stated in Newsome, “[a]n officer is not expected to craft a perfect question in the heat

             of the moment.” 475 F.3d at 1225.

                   The fact that the question was also broad enough to elicit other
                   information does not prevent application of the public safety exception
                   when safety was at issue. . . . [C]onditioning admissibility of evidence
                   under the public safety exception on an officer’s ability to ask questions
                   in a specific form would run counter to the Quarles Court’s decision
                   that an officer may forego announcement of Miranda warnings when
                   public safety is threatened.

             United States v. Williams, 181 F.3d 945, 953 n.13 (8th Cir. 1999).

                   The next query challenged—“If you can’t tell me anything about [other militia

             groups’] targets, tell me about your targets” (Def.’s Br. 30 (quoting Gov’t Ex. 1, at

             2:58:14-19))—also lies within the contours of a valid public safety interview. Before

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             Mr. Peace could fully answer, Captain Mayton stopped him to explain the purpose

             of this prompt: to ensure that no one else could carry out attacks against those

             targets. (See Gov’t Ex. 1, at 2:58:31-42.) This query was rationally related to

             defusing the perceived danger. The FBI possessed evidence that defendants were

             acting in concert with other militias. The disparate groups might well have jointly

             pursued the same or similar targets. Even if the militias had planned to act as

             separate units, a specific target that Mr. Peace and his codefendants had claimed as

             their own might have been so central to the overall scheme (for example, FEMA

             headquarters in Washington, D.C.) that one of the other militias, in the event of

             defendants’ incapacity, would have assumed responsibility for destroying it.

                   Finally, defendant objects to Intel Analyst Scott’s question, “You provide [the

             militia with] weapons?” (Def.’s Br. 32 (quoting Gov’t Ex. 1, at 3:30:58-31:08).)

             The Court need not decide whether this question exceeded the bounds of Quarles

             because the government will not seek to introduce Mr. Peace’s response at trial. (See

             supra note 1.)

                   To argue that the questions asked were “out of bounds,” Mr. Peace relies on

             United States v. Rogers, Criminal No. 13-130 ADM/JJG, 2013 WL 6388457 (D.

             Minn. Dec. 6, 2013). (See Def.’s Br. 31-33.) In Rogers, the FBI learned that the

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             defendant and others were planning to destroy a radio tower, raid a National Guard

             armory, and attack a police station. 2013 WL 6388457, at *1. Officers executing a

             search warrant at the defendant’s property found several explosive devices. Id.

             Without advising him of his Miranda rights, an FBI agent questioned Rogers “about

             the location of any other explosives, whether [he] had made the devices and how they

             were made, the nature and extent of the plot, and whether others might be involved

             in planning the attack.” Id. at *1-2. As the interrogation unfolded, the agent relayed

             information to bomb technicians and agents at the scene. Id. at *2.

                   Although much of the interrogation did fall under Quarles, the court held that

             the agent veered into a line of questioning that did not comport with the public safety

             exception when he “posed questions to Rogers about when he handled firearms” and

             “honed in on when Rogers may have handled the gun in relation to when he was

             placed on probation for a prior offense.” 2013 WL 6388457, at *4. These questions

             were not motivated by exigent circumstances because the firearms in question,

             secured by police, presented no danger to the police officers or the public. Id. at *4-

             5. Those questions were rather “an experienced investigators’ [sic] effort to have

             Rogers admit a key element of possession of a firearm by a convicted felon.” Id. at

             *4.

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                   Rogers is instructive, but not in the way defendant contends. The agent’s

             inquiries about the defendant’s firearms had no reasonable nexus to defusing an

             ongoing threat, since the firearms were all secured. Here, while the officers’

             questions had the collateral effect of furnishing the government with testimonial

             evidence, every question asked before 3:06 p.m. addressed the perceived threat of

             other militant organizations. Nothing bars police from asking questions that could,

             in addition to their primary purpose to safeguard the public, help them build a case

             against a defendant. See Quarles, 467 U.S. at 657 (“[The officer] needed an answer

             to his question not simply to make his case against Quarles but to insure that further

             danger to the public did not result from the concealment of the gun in a public

             area.”). For these reasons, the questions asked during the afternoon interview did not

             exceed the scope of a valid public safety interview.

                   C.     The Statements Obtained During the Evening Interview Should
                          Not be Suppressed Under Seibert

                   Mr. Peace next argues that statements he made during the evening interview,

             although they followed an adequate recitation of his Miranda rights and a voluntary

             and knowing waiver of those rights, should be suppressed under Seibert. (Def.’s Br.

             33-40.) To place this case in Seibert’s court, he observes that officers’ failure to



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             provide him Miranda warnings was not “hapless or inadvertent, but was intentional

             and calculated.” (Id. at 35.) This argument misreads Seibert, which expressed

             disapproval of a deliberate interrogation tactic intended to undermine the purpose of

             Miranda warnings. An officer’s decision to withhold warnings based on his

             interpretation of judicial precedent—even a faulty interpretation—is not the

             equivalent of the cunning question-first scheme that the police in Seibert routinely

             employed.    See United States v. Moore, 670 F.3d 222, 231 (2d Cir. 2012)

             (“[U]ndoubted public safety considerations plausibly account for the conduct of the

             police in a way that militates against finding that the first interview was a

             premeditated attempt to evade Miranda.”); United States v. Hernandez, 751 F.3d 538,

             542 (11th Cir. 2014) (where interrogation was within the public safety exception, it

             could not form the basis of a Seibert violation). Indeed, defendant, on his own

             volition, requested to reinitiate a dialogue with law enforcement. It is doubtful that

             the evening interview would have occurred had Mr. Peace not willingly reached out

             in the spirit of cooperation. This is clearly not a Seibert case, and defendant is not

             entitled to the suppression of statements he voluntarily made to police after a

             knowing and voluntary waiver of his Miranda rights.




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             IV.   CONCLUSION

                   For the reasons stated above, the undersigned RECOMMENDS that

             defendant’s Motion to Suppress Statements [45] be DENIED.          Further, the

             undersigned RECOMMENDS that the Court DENY AS MOOT defendant’s

             Motion to Suppress Evidence Resulting from Execution of Search Warrant [46, 56].

                   SO RECOMMENDED, this 25th day of September, 2014.




                                            WALTER E. JOHNSON
                                            UNITED STATES MAGISTRATE JUDGE




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